                         IN THE UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


 IN RE:                                          CHAPTER 7

 BEVERLYON PAYNE                                 CASE NO: 21-51228

                Debtor                           JUDGE ALAN M. KOSCHIK

                             MOTION FOR TURNOVER ORDER


               Now comes Marc P. Gertz, the duly appointed and acting Trustee in the above

captioned matter and pursuant to 11 U.S.C. §542 moves the Court for an Order requiring the debtor,

Beverlyon Payne to turnover to the Trustee her 2013 Dodge Journey, as same is property of the

bankruptcy estate pursuant to 11 U.S.C. §541.

       WHEREFORE, Trustee prays that the Court issue an Order directing and requiring Beverlyon

Payne, Debtor, to turnover to the Trustee her 2013 Dodge Journey forthwith, and further prays that said

order be issued without any further hearing herein unless any creditor or interested party requests such

hearing and/or objects to same within twenty-one (21) days of receipt of this Motion.


                                                    Respectfully submitted,

                                                    /s/ Marc P. Gertz
                                                    Marc P. Gertz, #0003808
                                                    Chapter 7 Trustee
                                                    Gertz & Rosen, Ltd.
                                                    11 S. Forge St.
                                                    Akron, OH 44304
                                                    Direct Dial: 330.255.0727
                                                    Direct Fax: 330.932.2366
                                                    mpgertz@gertzrosen.com




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                                    CERTIFICATE OF SERVICE


I certify that on December 13, 2021, a true and correct copy of Motion for Turnover Order was
served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on the
Court’s Electronic Mail Notice List:

       Werner Mendenhall on behalf of Debtor at warner@warnermendenhall.com

       US Trustee Office

And by regular U.S. mail, postage paid, on:

       Beverlyon Payne at 770 E. Buchtel Ave., #218, Akron OH 44305




                                                    /s/ Marc P. Gertz
                                                    Marc P. Gertz, #0003808
                                                    Chapter 7 Trustee




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                      NOTICE OF MOTION FOR TURNOVER ORDER


Marc P. Gertz, Trustee has filed a motion for turnover order with the court.

Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

If you do not want the court to allow the Motion, or if you want the court to consider your
views on the motion, then on or before January 3, 2021 , you or your attorney must:


      File with the court a written request for a hearing at:

             Clerk of Courts
             U.S. Bankruptcy Court
             2 South Main Street
             Akron, Ohio 44308

      If you mail your request to the court for filing, you must mail it early enough so the
      court will receive it on or before the date stated above.

      You must also mail a copy to:

             Marc P. Gertz, Trustee
             11 S. Forge St.
             Akron, Ohio 44304

If you or your attorney do not take these steps, the court may decide that you do not oppose
the relief sought in the motion and may enter an order granting that relief.




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